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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 17-22568-CIV-COOKE/GOODMAN

   ARTHENIA JOYNER; MIKE SUAREZ;
   JOSHUA A. SIMMONS; BRENDA
   SHAPIRO; LUIS MEURICE; THE
   AMERICAN CIVIL LIBERTIES UNION
   OF   FLORIDA,   INC.; FLORIDA
   IMMIGRANT COALITION, INC.,

                       Plaintiffs,

   vs.

   PRESIDENTIAL                    ADVISORY
   COMMISSION             ON       ELECTION
   INTEGRITY; MICHAEL PENCE, in his
   official capacity as Chair of the Presidential
   Advisory Commission on Election Integrity;
   KRIS KOBACH, in his official capacity as
   Vice Chair of the Presidential Advisory
   Commission       on    Election     Integrity;
   EXECUTIVE           OFFICE       OF     THE
   PRESIDENT          OF     THE       UNITED
   STATES; EXECUTIVE OFFICE OF
   THE VICE PRESIDENT OF THE
   UNITED STATES; TIM HORNE, in his
   official capacity as Administrator of the
   General Services Administration; MICK
   MULVANEY, in his official capacity as
   Director, Office of Management and
   Budget; KEN DETZNER, in his official
   capacity as Florida Secretary of State,

                       Defendants.

   ______________________________________/


                PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
         RESTRAINING ORDER AND PRELIMINARY INJUNCTION, AND/OR OTHER
             EMERGENCY INJUNCTIVE RELIEF AS MAY BE APPROPRIATE
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          Plaintiffs, pursuant to Fed. R. Civ. P. 7 and 65, seek an emergency temporary restraining

   order and/or a preliminary injunctive and/or other appropriate injunctive relief prohibiting

   Defendants from misappropriating, disseminating, selling, assigning, conveying, transferring,

   hypothecating, or utilizing, in any way, any private voter data or any other information collected

   or otherwise obtained by the Presidential Advisory Commission on Election Integrity (the

   “Commission”), and ordering the Florida Secretary of State to remain bound by this Court’s July

   20, 2017 Order [ECF No. 31] and to continue to comport with all protections governed by

   Florida law, pending further order of Court.

          New, disturbing developments have arisen, requiring emergency Court intervention. On

   January 3, 2018, the President executed an Executive Order, terminating the Commission.

   Within hours, Kansas Secretary of State Kris Kobach, the Commission’s Vice Chair and

   notorious vote suppressor, gave statements to the media that he and the White House are working

   together to transfer private, protected voter data to Immigration and Customs Enforcement

   (“ICE”) so that Secretary Kobach, the White House, and ICE can work together to purge voter

   rolls. Secretary Kobach called this a “tactical shift, ” saying “[t]he investigations will continue

   now, but they won’t be able to stall [it] through litigation.” Using Commission data, the Federal

   Defendants seek to “Stop Aliens From Voting,” without complying with FACA and other laws.

          Injunctive relief is appropriate to compel government compliance with FACA. “[T]o

   allow the government to use the product of a tainted procedure would circumvent the very policy

   that serves as the foundation of the Act.” Ala.-Tombigbee Rivers Coal. v. Dep’t of Interior, 26

   F.3d 1103, 1107 (11th Cir. 1994).

                     I. RELEVANT FACTS AND PROCEDURAL HISTORY

          1.      Throughout the 2016 presidential election campaign, now-President Trump




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   spread numerous baseless conspiracy theories about voter fraud. Details are provided in greater

   detail in Plaintiffs’ initial Complaint [ECF No. 1] and First Amended Complaint [ECF No. 65].

          2.      One of President Trump’s biggest campaign surrogates during the 2016 election

   was Kansas Secretary of State Kris Kobach. Secretary Kobach has a long history of suppressing

   the fundamental right to vote. See League of Women Voters v. Newby, 838 F.3d 1, 13 (D.C. Cir.

   2016) (reversing denial of motion for preliminary injunction, noting “precious little record

   evidence” of Kobach’s assertions of fraudulent voter registration by non-citizens); Fish v.

   Kobach, 840 F.3d 710, 747, 755 (10th Cir. 2016) (Kobach’s disenfranchisement of voters is a

   “mass denial of a fundamental constitutional right;” his “assertion that the ‘number of aliens on

   the voter rolls is likely to be in the hundreds, if not thousands’ is pure speculation”).

          3.      Within one day of President Trump’s election, Secretary Kobach drafted

   “amendments to the NVRA [National Voter Registration Act] to make clear that proof of

   citizenship requirements are permitted.” (Exhibit “A,” November 9, 2016 Email from Kris

   Kobach to Gene Hamilton). He informed Gene Hamilton, who became one of the Trump

   Administration’s top immigration policy staff members at the Department of Homeland Security

   (“DHS”) after the President took office.

          4.      While much of what Secretary Kobach was referring to as his proposed edits to

   the NVRA in November 2016 is unavailable to the public, a small portion was unsealed in Fish

   v. Kobach, Case No. 16-cv-02105 (D. Kan.), which addresses Secretary Kobach’s extensive

   efforts to suppress the right to vote in Kansas. The unredacted portion of Secretary Kobach’s

   draft amendments to the NVRA makes it clear that Secretary Kobach would expressly allow

   states to require documentary proof of citizenship of voter registration applicants, and also that

   he wanted to permit states to “require any information” from voter registration applicants.




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   (Exhibit “B,” Document titled “Amendments to the National Voter Registration Act”).

          5.      Shortly after President Trump’s election, Secretary Kobach also created for DHS,

   a “KOBACH STRATEGIC PLAN FOR FIRST 365 DAYS” (the “Strategic Plan”), filed in Fish

   v. Kobach. Of the 23 items on the Strategic Plan, only the last item is unredacted. It states: “V.

   Stop Aliens From Voting: . . . 23. Draft Amendments to the National Voter Registration Act to

   promote proof-of-citizenship requirements.” (Exhibit “C”). (emphasis in original).

          6.      On January 25, 2017, the President tweeted his intention to create what would

   later become the Presidential Advisory Commission on Election Integrity (“Commission”): “I

   will be asking for a major investigation into VOTER FRAUD, including those registered to vote

   in two states, those who are illegal and....1 even, those registered to vote who are dead (and many

   for a long time). Depending on results, we will strengthen up voting procedures!”2

          7.      The primary reason for the creation of the Commission was the President’s

   baseless argument that “[i]n addition to winning the Electoral College in a landslide, I won the

   popular vote if you deduct the millions of people who voted illegally.”3 ABC News declared this

   statement “False,” because there is “no proof to back up this claim.”4 This statement was in

   addition to others made by or on behalf of the President that made it clear that this

   Administration wants to suppress the right to vote based upon unfounded, spurious accusations

   of voter fraud. A non-exhaustive compilation of statements by or on behalf of the President



          1
             See Composite Exhibit “S,” see also Donald J. Trump (@realDonaldTrump), Twitter
   (Jan. 25, 2017, 7:10 am), https://twitter.com/realDonaldTrump/status/824227824903090176.
           2
             See Composite Exhibit “S,” see also Donald J. Trump (@realDonaldTrump), Twitter
   (Jan. 25, 2017, 7:13 am), https://twitter.com/realDonaldTrump/status/824228768227217408.
           3
             See Composite Exhibit “S,” see also Donald J. Trump (@realDonaldTrump), Twitter
   (Nov. 27, 2016, 3:30 p.m.), https://twitter.com/realDonaldTrump/status/802972944532209664.
           4
             Lauren Pearle, Fact-Checking Trump's Claims About ‘Serious Voter Fraud,’ ABC
   News (Nov. 28, 2016), http://abcnews.go.com/Politics/fact-checking-trumps-claims-voter-
   fraud/story?id=43820475.

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   concerning voter fraud in the 2016 election is filed in the record at ECF No. 65-1, pp. 5-13.

           8.      Secretary Kobach falsely stated after the 2016 election, “I think the president-

   elect is absolutely correct when he says the number of illegal votes cast exceeds the popular vote

   margin[.]” Mr. Kobach “had no tangible evidence to support that statement.”5

           9.      Presidential Counselor Kellyanne Conway said the President “bases his

   information” about voter fraud on Secretary Kobach.6

           10.     On May 11, 2017, the President executed Executive Order 13799, 82 Fed. Reg. at

   22,389 (“Executive Order 1”) (Exhibit “D”), leading to the Commission’s creation. Vice

   President Michael Pence was named Chair. Secretary Kobach – the President’s ally and chosen

   agent to work to suppress the right to vote – was named the Vice Chair. A Charter for the

   Commission was subsequently also prepared. (Exhibit “E”).

           11.     Executive Order 1 instructs the Commission to “study the registration and voting

   processes used in Federal elections.” Executive Order 1 does not contain any authority to collect

   personal voter data, to initiate investigations, or to seek the disclosure of state voter data.

           12.     Yet, on June 28, 2017, before the Commission’s members were all appointed and

   sworn in and before any noticed meetings, Secretary Kobach stated during a telephonic meeting,

   led by the Vice President, that “a letter w[ould] be sent today to the 50 States and District of

   Columbia on behalf of the Commission requesting publicly-available data from state voter rolls. .

   . .” (“Request Letters”). (Exhibit “F”).

           13.     Maine Secretary of State, and Commission member, Matthew Dunlap, stated:

           5
             Bryan Lowry, Kobach backs Trump’s unsupported claim of millions illegally voting,
   The      Wichita   Eagle      (Nov.    30,     2016),     http://www.kansas.com/news/politics-
   government/election/article117933098.html.
           6
             Andrew Kaczynski, Vice chair of 'Election Integrity' group repeatedly backed Trump's
   unfounded claim that millions voted illegally, CNN.com (May 12, 2017),
   http://www.cnn.com/2017/05/12/politics/kfile-kobach-voter-fraud-claim/index.html.

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          On that call, Vice-Chair Kobach informed the other commissioners and me that
          the Commission planned to send letters to all 50 states and the District of
          Columbia asking that they provide the Commission with information from the
          states’ voter rolls. I was not given the requests in advance of this phone call; this
          phone call was the first time I had heard of these letters. The commissioners were
          not given the opportunity to vote on whether to send the letters, which were sent
          later the same day. I did not have time to review the letters, to consult with other
          commissioners regarding the letters, or to consider or object to the letters. If I had
          been given a meaningful opportunity to discuss this matter, I might have opposed
          the decision to send these letters, or proposed alternative strategies for gathering
          voting-related information.

   (Exhibit “G,” November 16, 2017 Decl. of Matthew Dunlap at ¶ 5).

          14.     All the Request Letters, including the one to Florida Secretary of State Ken

   Detzner, (Exhibit “H”), request voter identifying information, including the:

          full first and last names of all registrants, middle names or initials if available,
          addresses, dates of birth, political party (if recorded in your state), last four digits
          of social security number if available, voter history (elections voted in) from 2006
          onward, active/inactive status, cancelled status, information regarding any felony
          convictions, information regarding voter registration in another state, information
          regarding military status, and overseas citizen information.

          15.     The Request Letters also seek “[w]hat evidence or information [the state had]

   regarding instances of voter fraud or registration fraud” and “[w]hat convictions for election

   related crimes ha[d] occurred in [the] state since the November 2000 federal election.”

   According to the Commission, “any documents that are submitted to the full Commission

   w[ould] also be made available to the public.” The states’ responses to the Commission were

   stated to be due by July 14, 201, before any public meeting of the Commission was ever held. Id.

          16.     The Request Letters did not list the Commission’s physical address. The URL

   (https://safe.amrdec.army.mil/safe/Welcome.aspx) to transfer voter information was not secure.

   (Exhibit “I,” Screenshot of website, dated 7/10/17). Visitors to the URL were told the

   “connection is not secure” and were warned of “your information . . . being stolen.” Id.

          17.     The Commission’s requests for voter data violated federal law in numerous



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   regards, including, among other things, the Federal Advisory Committee Act (“FACA”) (5

   U.S.C. app.), E-Government Act of 2002 (44 U.S.C. § 3501 note), the Paperwork Reduction Act

   (“PRA”) (44 U.S.C. § 3501), and the U.S. Constitution. Additionally, the Request Letter sent to

   Florida Secretary of State Ken Detzner sought protected information about Florida voters in

   violation of Fla. Stat. § 97.0585 and Florida’s Right to Privacy.

          18.     The instant lawsuit was filed on July 10, 2017. The Defendants’ violations are

   more fully set out in the Complaint [ECF No. 1] and the First Amended Complaint [ECF No.

   65].7 Plaintiffs also previously sought a motion for temporary restraining order. [ECF No. 6].

          19.     On July 18, 2017, the Court held a hearing in this matter. At the same time, the

   court in Lawyers’ Committee for Civil Rights Under Law v. Presidential Advisory Comm’n on

   Election Integrity, 265 F. Supp. 3d 54 (D.D.C. 2017) (“Lawyers’ Committee”), denied

   preliminary injunctive relief, without prejudice, in another case against the Commission.

          20.     Deferring to the Lawyers’ Committee court’s ruling at that time, this Court denied

   Plaintiffs’ motion for a temporary restraining order without prejudice. Joyner v. Presidential

   Advisory Comm’n on Election Integrity, 17-22568-CIV, 2017 WL 3113486, at *1 (S.D. Fla. July

   20, 2017); see also ECF No. 31. However, the Court required the Florida Secretary of State to

   limit Florida’s response to the Commission to the information allowed by Florida law. Id.

          21.     Subsequent to this Court’s ruling, the Florida Secretary of State provided certain

   voter data and information to the Commission. According to news reports, numerous other states

   have also provided voter data and information to the Commission.

          22.     After extensive negative publicity surrounding the Commission’s requests, the

   Commission announced in July 2017 that it “no longer intend[ed] to use the DOD SAFE system

          7
            The Complaint and First Amended Complaint and their respective exhibits are
   incorporated by reference.

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   [the website referenced in the Request Letters] to receive information from the states, and instead

   intends to use alternative means to receiving the information requested in the June 28, 2017,

   letter.” (Exhibit “J,” July 10, 2017 Decl. of Kris W. Kobach). According to Secretary Kobach at

   that time, “the Director of White House Information Technology is repurposing an existing

   system that regularly accepts personally identifiable information through a secure, encrypted

   computer application within the White House Information Technology enterprise.” Id.

          23.     According to Andrew J. Kossack, the Commission’s Executive Director and

   Designated Federal Officer, the Commission decided whether to make documents public. One

   category of documents not made public was the individualized state voter data the Commission

   had collected (presumably including Florida’s). To wit, Mr. Kossack has stated that:

          The state voting registration data has not been provided to the Commission
          members, but states submitted their data to the Commission as an entity and the
          data is intended to inform the Commission’s work as an advisory body. In my
          judgment it is therefore subject to section 10(b) [of the Federal Advisory
          Committee Act, requiring public disclosure]. The data will not be made public,
          however, because it is exempt from disclosure under 5 U.S.C. § 552(b)(6) to
          protect personal privacy.

   (Exhibit “K,” September 29, 2017 Third Decl. of Andrew J. Kossack at ¶ 11).

          24.     In November 2017, Secretary Dunlap, a Commission member, sued the

   Commission for violating FACA because, among other things, the Commission refused to give

   him access to documents or involve him in Commission activities in any meaningful way.

   (November 16, 2017 Decl. of Matthew Dunlap). On December 22, 2017, a preliminary

   injunction was entered, ordering the Commission to give Secretary Dunlap access to numerous

   categories of documents. (Exhibit “L”).8

          25.     On January 3, 2017, the DOJ provided notice that the President executed a new

          8
              Memorandum Op. in Dunlap v. Presidential Advisory Commission on Election
   Integrity, Case No. 17-2361 (CKK) at Docket Entry 33 (D.D.C. Dec. 22, 2017)).

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   Executive Order that same day (“Executive Order 2”). Executive Order 2 revoked Executive

   Order 1. [ECF No. 68]. The DOJ explained that Executive Order 2 terminated the Commission.

           26.     Contemporaneous with the signing of Executive Order 2, the White House

   released a press release, stating:

           Despite substantial evidence of voter fraud, many states have refused to provide
           the Presidential Advisory Commission on Election Integrity with basic
           information relevant to its inquiry. Rather than engage in endless legal battles at
           taxpayer expense, today President Donald J. Trump signed an executive order to
           dissolve the Commission, and he has asked the Department of Homeland Security
           to review its initial findings and determine next courses of action.

   (Exhibit “M”).9

           27.     The White House’s press release undermines all of the Administration’s

   statements that the Commission was bipartisan and not pretextual, and only confirms that the

   President formed the Commission with the intention of suppressing the right to vote based upon

   unfounded, spurious accusations of voter fraud.

           28.     Even more troublesome, within hours of the President signing Executive Order 2,

   news reports indicated Secretary Kobach would continue to run the White House’s investigation

   into “voter fraud” along with DHS Immigration and Customs Enforcement (“ICE”).

           29.     On January 3, 2018, Secretary Kobach told Breitbart News, “What’s happening is

   a tactical shift where the mission of the commission is being handed off to Homeland Security

   without the stonewalling by Democrats.” (Exhibit “N”)10

           30.     Secretary Kobach made clear he would continue to work on the investigation into

           9
             Statement by the Press Secretary on the Presidential Advisory Commission on Election
   Integrity, (Jan. 3, 2018); see also https://www.whitehouse.gov/briefings-statements/statement-
   press-secretary-presidential-advisory-commission-election-integrity/.
           10
              John Binder, Exclusive–Kris Kobach: Voter Fraud Commission ‘Being Handed Off’ to
   DHS, Will No Longer Be ‘Stonewalled’ by Dems, (Jan. 3, 2018), http://www.breitbart.com/big-
   government/2018/01/03/exclusive-kris-kobach-voter-fraud-commission-being-handed-off-to-dhs-
   will-no-longer-be-stonewalled-by-dems/.

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   “voter fraud” with the White House and DHS, specifically to evade pending litigation:

          “I’ll be working closely with the White House and DHS to ensure the
          investigations continue,” Kobach continued.
                                           *     *      *
          “The investigations will continue now, but they won’t be able to stall if through
          litigation,” Kobach told Breitbart News.

          “The investigation will continue. And it will continue more efficiently and more
          effectively,” Kobach said. “By throwing their food in the air, they just lost their
          seat at the table.”

   Id. (emphasis added).

          31.     “Kobach said he intends to work closely with DHS and the White House, and

   expects the bulk of the DHS investigation to be done by midsummer.” (Exhibit “O”).11

          32.     Also on January 3, 2018, news reports indicated that the state voter data would be

   turned over to ICE, where that agency would “take over the commission’s work and begin efforts

   to match state voter rolls to federal databases of noncitizens”:

          The Kansas official said he expects officials from Immigration and Customs
          Enforcement and political appointees overseeing that agency to take over the
          commission’s work and begin efforts to match state voter rolls to federal
          databases of noncitizens. He insisted he was not disappointed with the president’s
          decision.

           “It’s the right move,” Kobach said. “It’s a shifting in tactics from having the
          investigation be done by a federal commission to having it be done by a federal
          agency. The agency has a greater ability to move quickly to get the investigation
          done.”
    (Exhibit “P”).12 (emphasis added).

          33.     That same night, Secretary Dunlap “said Kobach and his allies ‘were the ones that

   were stonewalling,’ saying they had ‘very definite ideas of what they wanted this commission to

          11
              Colvin & Hanna, Trump Signs Order Disbanding Voter Fraud Commission,
   Associated Press, (Jan. 3, 2018), https://www.usnews.com/news/politics/articles/2018-01-
   03/trump-signs-order-disbanding-voter-fraud-commission.
           12
              Gerstein & Nusbaum, Trump disbands voter fraud commission: Kobach says
   Homeland Security immigration officials will take over probe, POLITICO (Jan. 3, 2018),
   https://www.politico.com/story/2018/01/03/trump-disbands-voter-fraud-commission-322621.

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   come up with.’” Secretary Dunlap also “questioned if the plan all along was for the

   commission to be disbanded. ‘They’re going to abandon the public process and they’re going to

   do it behind the scenes.” “‘Much more efficiently means no more public input.’” Colvin &

   Hanna, supra (emphasis added). Secretary Dunlap also said the “White House’s decision to

   move the inquiry to the Department of Homeland Security was ‘utterly alarming’” and that

   “[a]ny chance of having this investigation done in a public forum is now lost, and I think people

   should be, frankly, frightened by that.” (Exhibit “Q”)13 (emphasis added).

          34.     All but confirming that Secretary Dunlap was correct, early in the morning on

   January 4, 2018, the President tweeted, making it clear that the Commission, which he called the

   “Commission On Voter Fraud,” was always pretextual. The Commission’s purpose was always

   to “find” that steps must be taken to restrict voting rights, based upon purported “voter fraud”:

          Many mostly Democrat States refused to hand over data from the 2016 Election
          to the Commission On Voter Fraud. They fought hard that the Commission not
          see their records or methods because they know that many people are voting
          illegally. System is rigged, must go to Voter I.D.14
          As Americans, you need identification, sometimes in a very strong and accurate
          form, for almost everything you do.....except when it comes to the most important
          thing, VOTING for the people that run your country. Push hard for Voter
          Identification!15

          35.     On January 4, 2018, the White House Press Secretary said “we are going to send

   the preliminary findings from the Commission to the Department of Homeland Security and

   make determinations on the best way forward from that point” because “that was the agency best

   determined by the Administration and we are moving forward in letting them take over the



          13
              Tackett & Wines, Trump Disbands Commission on Voter Fraud, N.Y. Times (Jan. 3,
   2018), https://www.nytimes.com/2018/01/03/us/politics/trump-voter-fraud-commission.html.
           14
              See Composite Exhibit “S,” see also Donald J. Trump (@realDonaldTrump), Twitter
   (Jan. 4, 2018, 3:02 am), https://twitter.com/realDonaldTrump/status/948872192284155904.
           15
              See Composite Exhibit “S,” see also Donald J. Trump (@realDonaldTrump), Twitter
   (Jan. 4, 2018, 3:11 am), https://twitter.com/realDonaldTrump/status/948874586006925313.

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   process.” The White House, Press Briefing with Press Secretary Sarah Sanders, YouTube (Jan.

   4, 2018), https://youtu.be/mHDHfUhEkrw?t=5127, beginning at 1:25:27.

          36.     Almost    immediately     after   the   2016   election,     Secretary   Kobach   was

   communicating with immigration officials about revisions to the NVRA to “promote proof-of-

   citizenship requirements” in order to “Stop Aliens From Voting.” This was part of Secretary

   Kobach’s “KOBACH STRATEGIC PLAN FOR FIRST 365 DAYS” of the Trump

   Administration’s DHS. Now, almost 365 days into the President’s term, Secretary Kobach, the

   White House and DHS, will be taking over the Commission’s work and “begin efforts to match

   state voter rolls to federal databases of noncitizens.” This is a scheme.

          37.     Stated another way, the evidence is already overwhelming that the President and

   Secretary Kobach, among others, have enacted a scheme to (a) collect protected, private voter

   data under the ruse of a FACA commission, (b) hide pertinent information about the

   Commission’s activities to the public and even the Commission’s own members, (c) store private

   voter data on White House computers, which was wrongfully obtained under the pretext of a

   bipartisan FACA commission, (d) terminate the Commission, and (e) turn the private voter data

   over to ICE and Secretary Kobach, so they can, at a minimum, “Stop Aliens From Voting.”

          38.     The danger to Americans, in Florida and elsewhere, is immense and imminent.

   The public has no idea the scope of the information being kept by the Federal Defendants and

   what is being done with it. It is abundantly clear that the Federal Defendants, apparently led by

   the Executive Office of the President, Secretary Kobach and their cohorts, plan to disseminate

   the state voter data for their own ends as they please, and may have even done so already.

          39.     It is January 2018. If Secretary Kobach “expects the bulk of the DHS

   investigation to be done by midsummer,” that leaves just a few months for the investigation to




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   conclude. The only conclusion to be drawn is that the Federal Defendants have either already

   utilized the state voter data for means not authorized by FACA, the PRA, or any other authority

   governing the Commission; or will be doing so very, very soon.16

                                            II. ARGUMENT

          40.     The United States Supreme Court has explained, in U.S. Department of Defense v.

   Federal Labor Relations Authority, 510 U.S. 487, 500 (1994) that “[a]n individual’s interest in

   controlling the dissemination of information regarding personal matters does not dissolve simply

   because that information may be available to the public in some form.”

          41.     Fed. R. Civ. P. 65 provides for TROs and preliminary injunctions. The movant

   must establish: “(1) a substantial likelihood of success on the merits; (2) that irreparable injury

   will be suffered if the relief is not granted; (3) that the threatened injury outweighs the harm the

   relief would inflict on the non-movant; and (4) that entry of the relief would serve the public

   interest.” Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005).

            A. Plaintiffs Are Likely to Succeed on the Merits.

          42.     The showing of a substantial likelihood of success on the merits is generally the

   most important prerequisite to obtaining temporary injunctive relief and only requires a showing

   of likely or probable, rather than certain, success. Schiavo, 403 F.3d at 1232. A movant must


          16
             The Federal Defendants’ counsel, citing a July 17, 2017 Declaration of Charles C.
   Herndon, the Director of White House Information Technology, stated that “no other entity or
   persons beyond a limited number of [Director Herndon’s] technical staff have access” to the
   “data submitted by the States,” and that “the data will not be transferred or utilized; thus, there is
   no basis for emergency injunctive relief.” However, the White House’s and Secretary Kobach’s
   actions and statements are in direct conflict with those representations. Mr. Herndon’s July 17,
   2017 Declaration (Exhibit “U”) explicitly states that “[a]uthorized members of the Commission
   will be given access to the file directory identified to house the uploaded information,” and that
   “[t]he Commission will receive dedicated laptops, which can access the data provided by states .
   . . .” Therefore, Secretary Kobach and others have been able to access the data. Finally, Mr.
   Herndon’s Declaration is 6 months old, and was executed well before this week’s events.


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   only show a substantial likelihood of success on one of its claims to obtain relief. See id. “Absent

   the clearest command to the contrary from Congress, federal courts retain their equitable power

   to issue injunctions in suits over which they have jurisdiction” as it is inappropriate “to allow the

   government to use the product of a tainted procedure.” Tombigbee, 26 F.3d at 1107 .

          43.     Plaintiffs and the public will be harmed. Plaintiffs oppose the dissemination,

   collection, and potential distribution of their voter and identity information, and they are

   concerned about the potential distribution of their voting history and personal voter information,

   and the potential for misuse of that information. (Exhibit “R,” Affidavits, also at ECF No. 6-10).

                          1. Federal Advisory Committee Act

          44.     The Commission was created under FACA, and now its data is being

   misappropriated to suppress the right to vote. Although Executive Order 2 purports to

   “terminate” the Commission, the Commission still possesses incredible amounts of public,

   private voter data amounting to an unlawful federal, centralized voter database. The Defendants,

   Commission members, and others should not be permitted to utilize the data and information as

   they wish, which in this case is to “Stop Aliens From Voting.”

          45.     The Defendants’ conduct here is even more brazen than that of another FACA

   committee previously enjoined in this circuit, in Alabama-Tombigbee Rivers Coalition v.

   Department of Interior, 26 F.3d 1103 (11th Cir. 1994) (“Tombigbee”). There, the Alabama-

   Tombigbee Rivers Coalition (an organization comprised of local businesses and organizations in

   Alabama and Mississippi), challenged the release, use of, or reliance upon a scientific committee

   report prepared by a panel governed by FACA within the Fish and Wildlife Service (“FWS”). Id.

   at 1104. The FWS panel’s report was prepared as support for the Department of the Interior’s

   listing of the Alabama Sturgeon as an endangered species under the Endangered Species Act. Id.




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          46.     However, Tombigbee explains, concerns had been raised “regarding the

   objectivity of the panel.” Id. The panel members were originally tasked with issuing individual

   reports, but “shortly before the ‘panel’ was to convene to relay their individual reports, FWS

   substantially changed the structure of the ‘panel.’ The modified structure was for the scientists to

   meet and compile a single collective report. Id. at 1105. The Coalition filed suit and sought a

   TRO, preliminary and permanent injunction “against the release, use of, and reliance upon the

   scientific committee report.” Id. That same day, “FWS expeditiously announced in a press

   release that the scientists’ summary findings supported the listing of the Alabama Sturgeon as an

   endangered species.” Id. As explained in Tombigbee, id. at 1106:

          The Federal Advisory Committee Act requires, inter alia: (1) a written charter
          that explains the “mission” of the committee; (2) timely notice of committee
          meetings in the Federal Register; (3) fair and balanced composition of the
          committee; (4) government submission of a plan to the committee to ensure that
          the same is not “inappropriately influenced” by the appointing authority; (5) that
          the committee meetings be open to the public; (6) that the government prepare
          and provide detailed minutes of the committee meetings; (7) that the information
          upon which the committee relies in its determination be made available for public
          inspection. See 5 U.S.C. App. § 5 et seq.

          47.      “As a result of FWS’ FACA violations, the district court permanently enjoined

   the defendants from ‘publishing, employing and relying upon the Advisory Committee report

   which is the primary subject of the above entitled cause, for any purpose whatsoever, directly or

   indirectly, in the process of determining whether or not to list the Alabama sturgeon as an

   endangered species.’” Id. at 1105. On appeal, the court held that injunctions are an available

   remedy under FACA, and that an injunction prohibiting the use of an advisory committee report

   was appropriately granted where the committee process did not comply with FACA. Id.

          48.     “[T]o allow the government to use the product of a tainted procedure would

   circumvent the very policy that serves as the foundation of the Act.” Id. at 1106 (emphasis




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   added). “FACA’s dictates emphasize the importance of openness and debate. . . . If public

   commentary is limited to retrospective scrutiny, the Act is rendered meaningless.” Id.

          49.     According to the Eleventh Circuit, “injunctive relief [is] the only vehicle that

   carries the sufficient remedial effect to ensure future compliance with FACA’s clear

   requirements,” even where there are “minor transgressions,” “the subject matter is serious,” and

   “the objective is worthy.” “Because the matters are so serious and of such great concern to so

   many with differing interests, it is absolutely necessary that the procedures established by

   Congress be followed to the letter.” Id. at 1107 & n.9.

          50.      In this case, the Federal Defendants have conducted extensive business in

   violation of FACA, including but not limited to obtaining personal, private data about voters in

   Florida and across the country without even conferring with the Commission’s members, much

   less the public; and then storing it at the White House, to be distributed by Secretary Kobach, the

   White House, ICE, and maybe others, with no public discussion or approval. Even assuming, for

   the sake of argument, that the Presidential Advisory Commission on Election Integrity were ever

   a legitimate and bipartisan commission (which it never was), there was certainly no provision in

   the law allowing the data it collected to be hidden from public and then disseminated to others

   within and not within the federal government for their own means.

          51.     Just like in Tombigbee, the Defendants are wrongfully utilizing the Commission’s

   data at this time in order to avoid the repercussions of litigation.

          52.     As in Tombigbee, the instant Defendants violate FACA’s requirements that the

   Commission’s ultimate work product be “fair and balanced composition of the committee” and

   that the Commission and its ultimate work product not be “‘inappropriately influenced’ by the

   appointing authority.” See 5 U.S.C. App. § 5 et seq.; Tombigbee, 26 F.3d at 1106.




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          53.     Defendants also violate FACA by not providing reasonable public participation in

   activities. 41 C.F.R. § 101-6.1009(h), which the Vice President, as Chair must follow per 41

   C.F.R § 101-6.1011(b), provides that he “shall ensure: . . . [t]he opportunity for reasonable public

   participation in advisory committee activities.” “Public observation and comment must be

   contemporaneous to the advisory committee process itself.” See Tombigbee, 26 F.3d at 1106.

   The Commission’s actions violate FACA as the public cannot participate.

          54.     The Defendants also violate 5 U.S.C. app. 2 § 10(b), which requires:

          the records, reports, transcripts, minutes, appendixes, working papers, drafts,
          studies, agenda, or other documents which were made available to or prepared for
          or by each advisory committee shall be available for public inspection and
          copying at a single location in the offices of the advisory committee or the agency
          to which the advisory committee reports until the advisory committee ceases to
          exist.

          55.     There is vast evidence that Defendants have violated, and will continue to violate,

   FACA, including through their stated intentions to disseminate protected information to third

   parties, whether within or not within the federal government, for their own use, and in other

   ways not yet known. Plaintiffs have established a likelihood of success on the merits.

                  2. Violations of Florida Privacy Laws

          56.     Art. I, § 23, Fla. Const. guarantees the right of privacy, and Fla. Stat. § 97.0585,

   mandates confidentiality of certain voter information data. Subsequent to this Court ordering the

   Florida Secretary of State to comply with Florida privacy laws in its submission of voter data to

   the Commission, Joyner, 2017 WL 3113486, at *1, see also ECF No. 31, Florida submitted voter

   data to the Commission. What has become of that data is shrouded in secrecy.

          57.     For that reason, the Defendants should be enjoined from violating any Florida

   privacy laws. Further, the Florida Secretary of State must remain bound by this Court’s Order of

   July 20, 2017 [ECF No. 31], including the representations contained in his July 6, 2017 letter



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   (Exhibit “T”), and he must continue to comport with all protections governed by Florida Law.

          B.    Plaintiffs Will Suffer Irreparable Harm.

          58.     Unless a TRO is granted, Plaintiffs, their members, and the public face imminent

   threat of their private, personal data – which was obtained under the facade of a FACA

   commission – being transferred to ICE and other persons, many of whom may not yet be known,

   to suppress the right to vote and other reasons not yet known. The Defendants’ activity is not

   authorized by any statute or Executive Order, is in violation of FACA, and seeks to disseminate

   protected, private information. The Commission’s activities are of great public importance and

   concern, especially as this unlawful dissemination will touch upon the fundamental right to vote.

          59.     The Federal Defendants have provided no assurances that they will protect the

   private data collected by the Commission. In fact, the President’s termination of the

   Commission, which appears to have been done in concert with Secretary Kobach so that

   Secretary Kobach, the White House, and others can continue the Commission’s work without

   having to comply with FACA and other federal law, creates imminent threat of harm. See Does

   v. Univ. of Wash., 2016 WL 4147307, at *2 (W.D. Wash. Aug. 3, 2016) (entering TRO to

   prevent disclosure of personal identifying information, including phone numbers and email

   addresses). “In the age of the internet, when information is made public quickly and without

   borders, it is nearly impossible to contain an impermissible disclosure after the fact, as

   information can live on in perpetuity in the ether to be shared for any number of deviant

   purposes.” Wilcox v. Bastiste, 2017 WL 2525309, at *3 (E.D. Wash. June 9, 2017) (preliminary

   injunction entered where release of personal DMV information would cause irreparable harm).

          60.     Now that the Commission has the private data it sought and the President has

   terminated the Commission, there is no way to know the extent to which Secretary Kobach and




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   the White House will work together to suppress the right to vote. It is impossible to know the full

   extent of the Defendants’ violations. “If public commentary is limited to retrospective scrutiny,

   the Act is rendered meaningless.” See Tombigbee, 26 F.3d at 1106. Absent injunctive relief,

   irreparable harm to Plaintiffs and the public is imminent.

          61.      “The right to vote is a ‘precious’ and ‘fundamental’ right.” “Voting is,

   indisputably, a right ‘of the most fundamental significance under our constitutional structure.’”

   Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1256 (N.D. Fla. 2016) (citing sources). As

   explained by the Eleventh Circuit, when it comes to FACA, “[b]ecause the matters are so serious

   and of such great concern to so many with differing interests, it is absolutely necessary that the

   procedures established by Congress be followed to the letter. Tombigbee, 26 F.3d at 1107 n.9.

   Thus, what the Defendants are doing – perpetrating an all-out assault on the right to vote, with

   Secretary Kobach making it clear he is working with the White House to “Stop Aliens From

   Voting” using the Commission’s data for their own means in violation of FACA – is much,

   much worse than when the FWS panel in Tombigbee ignored FACA’s openness and fairness

   requirements to work to make the Alabama Sturgeon an endangered species. The extent of the

   harm to Plaintiffs and the public in this case is immense.

                C. The Balance of Harm Supports Entry of Injunctive Relief

          62.      The balance of harm supports injunctive relief as Plaintiffs and the public will be

   imminently harmed if their information is disclosed by Defendants, who have violated numerous

   laws. This outweighs any delay Defendants could endure from the injunctive relief, since it will

   simply restrain Defendants to follow the law. See generally Gates v. Schlesinger, 366 F. Supp.

   797, 801 (D.D.C. 1973) (“The Court finds no injury to Defendants in being obliged to conform

   to the open meeting requirement imposed by [FACA]”). The Commission has no reasonable or




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   legitimate use for the data now that it has been disbanded, and its disbanding does not mean there

   is a legitimate public purpose or interest in simply passing that data off to another agency.

           63.     Any non-trivial interest against disclosure warrants non-disclosure of personal

   identifying information where there is no public interest in the disclosure. U.S. Dept. of Def., 510

   U.S. at 500; Fed. Labor Relations Auth., 977 F.2d at 549. Thus, the harm from improper data

   disclosure outweighs any harm to Defendants, which is none. See U.S. Dept. of Def., 510 U.S. at

   500–01. There is no public interest in creating an illegal federal database of all American voters’

   personal information, and then disseminating that information with no oversight.

           D. Entry of the Relief Would Serve the Public Interest

           64.     A TRO serves the public interest since Defendants will have to comply with law.

   “There is generally no public interest in the perpetuation of unlawful agency action. . . . To the

   contrary, there is a substantial public interest ‘in having governmental agencies abide by the

   federal laws that govern their existence and operations.’” League of Women Voters, 838 F.3d at

   12; accord United States v. Ala., 691 F.3d 1269, 1301 (11th Cir. 2012) (“Frustration of federal

   statutes and prerogatives are not in the public interest[.]”). Moreover, “FACA’s principal

   purpose was to enhance the public accountability of advisory committees established by the

   Executive Branch and to reduce wasteful expenditures on them.” Pub. Citizen v. U.S. Dep’t of

   Justice, 491 U.S. 440, 459 (1989); Gates, 366 F. Supp. at 801 (D.D.C. 1973) (“public interest

   will be best served by requiring strict compliance with the letter and spirit of [FACA]”).

           65.     Next, the public interest is to prevent the transfer of private, protected voter data

   to others who are not affiliated with the Commission for illegitimate, non-Commission purposes.

   The Commission is disbanded and passing the data collected to other sources is in direct conflict

   with the public’s interest. While “publicly available [information is in] voter registration lists, . . .




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   [a]n individual’s interest in controlling the dissemination of information regarding personal

   matters does not dissolve simply because that information may be available to the public in some

   form.” U.S. Dept. of Def., 510 U.S. at 500–01. Absent injunctive relief, the Defendants will

   disseminate an unauthorized federal database of Americans’ personal information, without

   privacy protections or explanations how the data will be used. Secretary Kobach’s plan to work

   with DHS, ICE, and the White House to “Stop Aliens From Voting,” based upon an

   unsubstantiated voter fraud myth, weighs in favor of a TRO and a preliminary injunction.

                                            III. CONCLUSION

           Plaintiffs respectfully request a TRO and/or preliminary or other injunctive relief

   prohibiting the Defendants from misappropriating, disseminating, selling, assigning, conveying,

   transferring,   hypothecating, or utilizing, in any way, any private voter data or any other

   information collected or otherwise obtained by the Commission, and ordering the Florida

   Secretary of State to remain bound by this Court’s Order of July 20, 2017 [ECF No. 31], and

   more specifically, remain bound by the representations contained in his July 6, 2017 letter, to

   continue to comport with all protections governed by Florida law, pending further order of Court.

   Plaintiffs also request any other relief that is just and proper.




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   Dated: January 5, 2018                Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 5, 2018, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record identified on the attached service list in the

   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

   or in some other authorized manner.

                                                              S/ Marc A. Burton
                                                              MARC A. BURTON
                                                              Florida Bar No. 95318




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                            CERTIFICATE OF GOOD FAITH CONFERRAL
                              WITH FLORIDA SECRETARY OF STATE

          I HEREBY CERTIFY that on January 5, 2018, Plaintiffs’ counsel conferred with

   counsel for the Florida Secretary of State regarding this matter. At 11:08 am on January 5, 2018,

   Plaintiffs’ counsel emailed counsel for all Defendants a nearly final, working draft of this

   Motion, and requested the Defendants’ positions on the relief sought herein. During the

   afternoon of January 5, 2018, two of Plaintiffs’ attorneys, Marc A. Burton and H.K. Skip Pita,

   both had telephone discussions with David Fugett, Esq., counsel for the Florida Secretary of

   State, which were followed up with email correspondence. Mr. Fugett represented in writing that

   “the Secretary will not object to a proposed order as long as the portion of the proposed order

   that is directed to the Secretary comports with the wording in the July 20, 2017 Order (DE 31).”

          The contents of Mr. Fugett’s email to Plaintiffs’ counsel, which contains this language, is

   reproduced as follows:

          Skip:

          Thanks for your time this evening spent discussing the proposed order on your
          draft emergency motion. As we discussed, the Secretary will not object to a
          proposed order as long as the portion of the proposed order that is directed to the
          Secretary comports with the wording in the July 20, 2017 Order (DE 31).

          Examples of acceptable wording:

                  -      “[t]he Defendants will be enjoined from violating any Florida
                  privacy laws. Further, the Florida Secretary of State will remain bound by
                  this Court’s Order of July 20, 2017. [DE 31] More specifically, the
                  [Secretary] will remain bound by the representations contained in his July
                  6, 2017 letter, and the [Secretary] will continue to comport with all
                  protections governed by Florida law.”

                  -       “[t]he [Secretary] remains bound by the representations contained
                  in his July 6, 2017 letter, pending further order of Court. By this ruling,
                  the [Secretary] will continue to comport with all protections governed by
                  Florida law.”




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         The second example is more preferable as it more closely resembles the Court’s
         earlier Order which addresses the same issue as to the Secretary.

         As to the portion of the proposed order that is not directed to the Secretary, we
         have not reviewed it and take no position as to that portion of any proposed order.

         Thanks again for your time. If you need to discuss the above with me, feel free to
         contact me at any time on my cell phone at: [REDACTED].

         Regards,

         David A. Fugett

                                                             S/ Marc A. Burton
                                                             MARC A. BURTON
                                                             Florida Bar No. 95318




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                          CERTIFICATE OF GOOD FAITH CONFERRAL
                        WITH THE FEDERAL GOVERNMENT DEFENDANTS

          I HEREBY CERTIFY that on January 5, 2018, Plaintiffs’ counsel conferred with

   counsel for the Federal Government Defendants regarding this matter. At 11:08 am on January 5,

   2018, Plaintiffs’ counsel emailed counsel for all Defendants a nearly final, working draft of this

   Motion, and requested the Defendants’ positions on the relief sought herein. During the

   afternoon of January 5, 2018, Plaintiffs’ attorney, Marc A. Burton, had a telephone discussion

   with Carol Federighi, Esq. and Joseph Borson, Esq., counsel for the Federal Government

   Defendants, which was followed up with email correspondence. Mr. Borson represented in

   writing that “[w]e oppose your proposed emergency motion . . . .”

          The contents of Mr. Borson’s email to Plaintiffs’ counsel, which contains this language,

   is reproduced as follows:

          Mr. Burton,

          We are in receipt of your proposed emergency motion for temporary restraining
          order and preliminary injunction, and/or other emergency injunctive relief as may
          be warranted. We oppose your proposed emergency motion on two primary
          grounds.

          First, as you know, the Director of White House Information Technology
          (“DWHIT”) is maintaining the data submitted by the States, and has made clear
          that no other entity or persons beyond a limited number of his technical staff have
          access to it. SeeDecl. of Charles Christopher Herndon, submitted in Electronic
          Privacy Information Center v. Presidential Advisory Commission on Election
          Integrity, No. 17-cv-1320 (D.D.C.), ECF No. 38-1. We have additionally been
          authorized to represent that the data will not be transferred or utilized; thus, there
          is no basis for emergency injunctive relief.

          Second, given the threshold issues that defendants raised in their motion to
          dismiss plaintiffs’ original complaint – issues that have not been cured by
          plaintiffs’ amended complaint – the Court does not have jurisdiction to consider
          plaintiffs’ proposed emergency motion. Even if the Court were to determine it
          did have jurisdiction, plaintiffs’ amended complaint fails to state a claim for
          which emergency relief may be granted.




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         Should plaintiffs proceed with filing their proposed motion, the federal defendants
         request that you publish this response in the motion.

         All my best,

         Joey Borson

                                                             S/ Marc A. Burton
                                                             MARC A. BURTON
                                                             Florida Bar No. 95318




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                       CERTIFICATE OF COMPLIANCE WITH EMERGENCY
                          PROCEDURES PURSUANT TO LOCAL RULES

          I HEREBY CERTIFY that on January 5, 2018, Plaintiff’s counsel executed a

   “Certification of Emergency,” which was filed contemporaneously with this Motion. The

   emergency nature of this Motion stems from the Federal Government’s statements and actions

   indicating that it intends to imminently transfer, to third parties, private voter data and other

   information obtained and produced by the Presidential Advisory Commission on Election

   Integrity, including to the Department of Homeland Security, Immigration and Customs

   Enforcement, and possibly others.

                                                              S/ Marc A. Burton
                                                              MARC A. BURTON
                                                              Florida Bar No. 95318




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